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8                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
9                                     AT SEATTLE
10
     UNITED STATES OF AMERICA,                 )
11                                             )       CASE NO. CR06-106RSM
                                Plaintiff,     )
12                                             )
                   v.                          )       ORDER REGARDING
13                                             )       CONTINUANCE OF TRIAL
                                               )       TO JANUARY 22, 2007
14                                             )
     FELIPE MARAMBA,                           )
15   ELEAZAR BASILIO, and                      )
     JERRY RACCA,                              )
16                                             )
                             Defendants.       )
17                                                 )
18

19          The Court’s Order granting a continuance of trial in this matter (Dkt. No. 197)
20   applies to all defendants in this matter who have not yet pleaded guilty.
21          IT IS HEREBY ORDERED that trial in this matter for all defendants pending trial
22   is continued from November 20, 2006 to January 22, 2007. Pretrial motions for all
23   defendants who have not yet pleaded guilty are due on December 22, 2006.
24   //
25   //
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     Order to Continue Trial Date/
     MARAMBA, et al/CR06-106RSM — 1                                                UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
           Case 2:06-cr-00106-RSM       Document 201     Filed 11/13/06   Page 2 of 2



1          IT IS FURTHER ORDERED that, for purposes of computing the time limitations

2    imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3164, the period of delay from

3    November 20, 2006, up to and including January 22, 2007, is excludable time pursuant to

4    18 U.S.C. § 3161(h)(8)(B)(iv).

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6          DATED this 13 day of November, 2006.

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9
                                                    A
                                                    RICARDO S. MARTINEZ
                                                    UNITED STATES DISTRICT JUDGE
10

11   Presented by:

12
      /s Jill Otake
13   JILL OTAKE
     Assistant United States Attorney
14   WA Bar # 28298
     United States Attorney’s Office
15   700 Stewart Street, Suite 5220
     Seattle, WA 98101
16   Telephone: (206) 553-4254
     Fax: (206) 553-0755
17   E-mail: jill.otake@usdoj.gov

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     Order to Continue Trial Date/
     MARAMBA, et al/CR06-106RSM — 2                                          UNITED STATES ATTORNEY
                                                                              700 Stewart Street, Suite 5220
                                                                             Seattle, Washington 98101-1271
                                                                                      (206) 553-7970
